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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

United States of America,

        Plaintiff,
                                              Criminal No. 18-20456
v.
                                              Honorable Paul D. Borman

D-1 CARLOS SMITH



        Defendant.



                 GOVERNMENT’S MOTION AND ORDER
           TO UNSEAL INDICTMENT AND ARREST WARRANT


     The United States of America hereby moves for an order unsealing the

Indictment and Arrest Warrant in this case, and states:

        1. The Indictment in this case charges the defendant with one or more

           federal crimes.

        2. Rule 6(e)(4) of the Federal Rules of Criminal Procedure, which

           authorizes this Court to seal indictments, implicitly authorizes this Court

           to unseal indictments.
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      3. The government requests that the Indictment and Arrest Warrant be

          unsealed because the defendant has agreed to self-surrender and is

          entitled to receive a copy of the Indictment.

   WHEREFORE, the government requests this Court to issue an order unsealing

the Indictment and Arrest Warrant.

                                             Respectfully submitted,

                                             Matthew Schneider
                                             United States Attorney


                                             s/Steven Scott
                                             STEVEN SCOTT
                                             Trial Attorney
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Dated: June 27, 2018


   IT IS SO ORDERED.



                                             s/David R. Grand
                                             David R. Grand
                                             United States Magistrate Judge

Entered: June 27, 2018
